

ORDER

PER CURIAM:
AND NOW, this 30th day of December, 1996, upon consideration of the Certificate of Admission of Disability by Attorney that the respondent-attorney is suffering from disability by reason of physical disability which makes it impossible for him to prepare an adequate defense to a complaint of professional misconduct brought against him in connection with Office of Disciplinary Counsel file No. 137 DB 96, it is hereby
ORDERED that Cyril D. Brain is immediately transferred to inactive status pursuant to Rule 301(e), Pa.R.D.E. for an indefinite period and until further Order of this Court. Respondent shall comply with Rule 217, Pa. R.D.E. All pending disciplinary proceedings against the respondent-attorney shall be held in abeyance, except for the perpetuation of *689testimony and any further proceedings necessary pursuant to Rule 301, Pa.R.D.E.
